UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
Civil Action No.: 1:19-CV-12358-LTS

 

PILGRIM INSURANCE COMPANY,
Plaintiff,

WESTFIELD TRANSPORT, INC.,
VOLODOYMYR ZHUKOVSKYY,

DARTANYAN GASANOV, JOSHUA

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MORIN, JOYANN M. MORIN, MICHAEL
FERAZZI, EMANUEL RIBIERO, STEVEN
LEWIS, EDWARD CORR, JOANNE
CORR, DANIEL PEREIRRA, AARON
PERRY, DESMA OAKES, ALBERT
MAZZA, DOUGLAS HAYWARD,
BRENDA HAYWARD, DAVID BARK and

MARY LOU WELCH,
Defendants.

NOTICE OF APPEARANCE

Please enter my Appearance for the Defendants, Westfield Transport and Dartanyan

Gasonov, in reference to the above-entitled matter.

Dated:

The Defendants
Westfield Transport and Dartanyan Gasonov

By Their Attorneys

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Dartanyan Gasanov, Individually and for the
Defendant, Westfield Transport, Inc.

90 Allison Lane
West Springfield, MA 01089

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CERTIFICATE OF SERVICE

I, Dartanyan Gasanov, do hereby certify that on this if ) day of December, 2019 I
caused the foregoing document to be served on all parties of record in this action by mailing a copy
thereof, first-class, postage prepaid, to the following:

Michael J. Merriam, Esquire
Law Offices of Michael J. Merriam
99 Bedford Street, Suite 400
Boston, Massachusetts 02111-2221

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Dartanyan Gasanov, Individually and for the
Defendant, Westfield Transport, Inc.
